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                               CERTIFICATE OF SERVICE

       I, Joseph Grey, hereby certify that, on this 10th day of December, 2021, and in addition

to the service provided under the Court’s CM/ECF system, I caused copies of the foregoing

Objection to Modified Emergency Motion to be served upon the parties listed below by email.


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                                                    /s/ Joseph Grey
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